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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS

LABORATORIOS PISA S.A. de C.V; AND
CAB ENTERPRISES, INC.,
                                       Civ. Action No.: 7:21-CV-0062
                 Plaintiffs,

     vs.
                                       (JURY DEMAND)
PEPSICO, Inc.; AND
STOKELY-VAN CAMP, INC.,


                 Defendants.




           [PROPOSED] ORDER TO SHOW CAUSE FOR A
   TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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        Upon review of the Complaint of Plaintiffs Laboratorios Pisa S.A. de C.V (“Pisa”) and

CAB Enterprises, Inc. (“CAB”) (collectively “Plaintiffs”), the memorandum of law submitted in

support of this Order, and the accompanying declarations and exhibits, and for good cause shown,

it is hereby:

        ORDERED         that    Defendants      show      cause     before     this    Court      at

____________________________________ on the ___ day of ____________, 2021 at __ o’clock

_.m., or such other date as may be fixed by the Court, why a preliminary injunction, pursuant to

Rule 65 of the Federal Rules of Civil Procedure, should not be issued enjoining the Defendants

and their principals, agents, officers, directors, members, servants, employees, successors, assigns

and all other persons in concert and participation with them, pending the final hearing and

determination of this action from:

        1.      Manufacturing, distributing, shipping, advertising, marketing, promoting, selling,

or otherwise offering for sale Gatorlyte in the trade dress depicted below (the “Gatorlyte Trade

Dress”) or any products infringing on the ELECTROLIT® trade dress (the “ELECTROLIT Trade

Dress”) depicted below, the ELECTROLIT® Marks as defined below (the “ELECTROLIT

Marks”), or any trade dress or marks confusingly similar thereto.




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 a. The Gatorlyte Trade Dress is:




 b. The ELECTROLIT Marks are:

                  Mark                   U.S. Reg. No.      Reg. Date
                                           4222726         Oct. 9, 2012

            “ELECTROLIT”                    4833885        Oct. 13, 2015
                                            4717350        Apr. 7, 2015




                                            4717232        Apr. 7, 2015




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       c. The ELECTROLIT Trade Dress consists of, but is not limited to the packaging illustrated

       below:




       2.       Representing, by any means whatsoever, that any products manufactured,

distributed, advertised, offered or sold by Defendants are Plaintiffs’ products or vice versa

(including by mixing Gatorlyte products in ELECTROLIT branded display boxes, coolers, racks

or other merchandising equipment or by mixing the products together on the same shelves, or by

back-filling Gatorlyte products behind ELECTROLIT on shelves within the space reserved for

Plaintiffs’ products), and from otherwise acting in a way likely to cause confusion, mistake or

deception on the part of purchasers or consumers as to the origin or sponsorship of such products;

       3. Using any logo, trade name or trademark confusingly similar to any of the

ELECTROLIT Marks which may be calculated to falsely represent or which has the effect of

falsely representing that the services or products of any or all of the defendants or of others are

sponsored by, authorized by or in any way associated with Pisa or CAB;



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       3.      Infringing any of the ELECTROLIT Marks or ELECTROLIT Trade Dress;

       4.      Otherwise unfairly competing with Pisa or CAB in the manufacture, sale, offering

for sale, distribution, advertisement, or any other use of ELECTROLIT®;

       5.      Using any bottle, packaging, or advertising that is likely to dilute the distinctive

quality of the ELECTROLIT Marks or ELECTROLIT Trade Dress;

       6.      Engaging in anticompetitive conduct, including but not limited to, conditioning the

sale of Gatorade products on the sale of Gatorlyte, or requiring that distributors or resellers remove

Electrolit products from circulation as a condition of purchasing Gatorade;

       7.      Assisting, aiding or abetting any other person or business entity in engaging in or

performing any of the activities referred to in subparagraphs (1) through (5) above; and it is further

       ORDERED, that pending further order of this Court, the Defendants and their

principals, agents, officers, directors, members, servants, employees, successors, assigns

and all other persons in concert and participation with them (collectively, the “Restrained

Parties”), shall, upon service of this Order in the manner described below, be immediately

temporarily restrained from:

       1.      Manufacturing, distributing, shipping, advertising, marketing, promoting, selling,

or otherwise offering for sale any products in the Gatorlyte Trade Dress (as defined above) or any

products that infringe the ELECTROLIT Marks (as defined above) or ELECTROLIT Trade Dress

(as defined above);

       2.      Representing, by any means whatsoever, that any products manufactured,

distributed, advertised, offered or sold by Defendants are Plaintiffs’ products or vice versa

(including by mixing Gatorlyte products in ELECTROLIT branded display boxes, coolers, racks

or other merchandising equipment or by mixing the products together on the same shelves, or by




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back-filling Gatorlyte products behind ELECTROLIT on shelves within the space reserved for

Plaintiffs’ products), and from otherwise acting in a way likely to cause confusion, mistake or

deception on the part of purchasers or consumers as to the origin or sponsorship of such products;

       3.      Using any logo, trade dress, or trade name or trademark confusingly similar to any

of the ELECTROLIT Marks or ELECTROLIT Trade Dress which may be calculated to falsely

represent or which has the effect of falsely representing that the services or products of any or all

of the Restrained Parties or others are sponsored by, authorized by or in any way associated with

Pisa or CAB;

       4.      Otherwise unfairly competing with Pisa or CAB in the manufacture, sale, offering

for sale, distribution, advertisement, or any other use of ELECTROLIT®;

       5.      Using any bottle, packaging, or advertising that is likely to dilute the distinctive

quality of the ELECTROLIT Marks or ELECTROLIT Trade Dress;

       6.      Engaging in anticompetitive conduct, including but not limited to, conditioning the

sale of Gatorade products on the sale of Gatorlyte, or requiring that distributors or resellers remove

Electrolit products from circulation as a condition of purchasing Gatorade;

       7.      Assisting, aiding or abetting any other person or business entity in engaging in or

performing any of the activities referred to in subparagraphs (1) through (5) above; and it is further

       ORDERED, that service of the Summons and Complaint and of this Order to Show

Cause, together with copies of the papers in support thereof, shall be made wi thin 3 business

days of the undersigned date on the Defendants, by delivering true copies thereof to any

person of suitable age found at Defendants’ business addresses, and that such service be

deemed sufficient service; and it is further




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        ORDERED, that Defendants and any Restrained Party recall from any and all channels of

distribution, including but not limited to distribution and retailers, any and all infringing products

and promotional materials for Gatorlyte within five (5) business days from the entry of this Order;

and it is further

        ORDERED, that within five (5) business days of the entry of this Order to Show Cause,

Plaintiffs post an undertaking with the Clerk of the Court in the form of a bond, cash or check in

the amount of $________ as security for the payment of such costs and damages as may be

incurred or suffered by any party as a result of any undue harm caused by this Order to Show

Cause, and that such undertaking, if in the form of check or cash, shall be held in an interest-

bearing account; and it is further

        ORDERED, that Defendants shall file with the Court and serve upon Plaintiff’s counsel

within seven (7) days after entry of this Order a report, in writing and under oath, setting forth in

detail the manner and form in which Defendants have complied with the requirements of the

temporary restraining order outlined herein; and it is further

        ORDERED, that answering papers, if any, be filed by the Defendant s with this

Court and personally served upon Plaintiffs' counsel, Alston & Bird LLP, at their offices at

90 Park Avenue, New York, New York 10016, on or before _______________________, 2021,

and reply papers shall be filed and served on or before _______________________, 2021; and

it is further

        ORDERED, that the Restrained Parties are hereby put on notice that failure to attend the

show cause hearing scheduled herein shall result in the immediate issuance and confirmation of

the preliminary injunction, and that failure of the Restrained Parties to respond to the Order to

Show Cause by ____________________ shall result in the automatic issuance of a preliminary




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injunction, which shall be deemed to take effect immediately and shall extend during the pendency

of this action. The Restrained Parties shall be deemed to have actual notice of the issuance and

terms of such preliminary injunction, and that any act by the Restrained Parties in violation of any

of its terms may be considered and prosecuted as contempt of this Court.



Issued: February __, 2021 at __o’ clock __.m.          _______________________________

                                              UNITED STATES DISTRICT JUDGE




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